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   7 FOODS MARKET SERVICES, INC.;
     WHOLE FOODS MARKET CALIFORNIA,
   8
     INC.; and MRS. GOOCH’S NATURAL FOOD
   9 MARKETS, INC.

  10                             UNITED STATES DISTRICT COURT
  11                        CENTRAL DISTRICT OF CALIFORNIA
  12 SARA SAFARI, PEYMON                            Case No. 8:22-cv-01562-JWH (KESx)
     KHAGHANI, on behalf of themselves
  13 and all others similarly situated, and         DEFENDANTS’ REPLY IN
     FARM FORWARD, on behalf of the                 SUPPORT OF ITS MOTION TO
  14 general public,                                DISMISS PLAINTIFFS’ FIRST
                                                    AMENDED COMPLAINT
  15               Plaintiffs,
                                                    Date:     March 10, 2023
  16         v.                                     Time:     9:00 AM
                                                    Place:    411 West Fourth Street
  17 WHOLE FOODS MARKET                                       Courtroom 9D, 9th Floor
       SERVICES, INC., a Delaware                             Santa Ana, California 92701
  18 corporation, WHOLE FOODS
       MARKET CALIFORNIA, INC., a                   The Honorable John W. Holcomb
  19 California corporation, MRS. GOOCH’S
       NATURAL FOOD MARKETS, INC.,                  Complaint Filed: August 23, 2022
  20 doing business as Whole Foods Market,          Trial Date:      Not Set
       a California Corporation,
  21
                   Defendants.
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   1                                 I.     INTRODUCTION
   2         At the foundation of Plaintiffs’ claims in this action is their contention that
   3 antibiotics are used in raising the cattle that provide the beef products sold at Whole

   4 Foods Market stores in California and therefore were likely present in the beef

   5 products Plaintiffs purchased. 1 To establish a factual basis for this contention,

   6 Plaintiffs allege that Farm Forward tested an undisclosed number of undisclosed

   7 beef products purchased from Whole Foods Market stores in several states using an

   8 undisclosed testing method and detected an undisclosed amount of monensin
   9 sodium residue in a single unspecified product. See ECF No. 35, ¶¶2 & 59-60.

  10 Based on this one incident, Plaintiffs claim they were injured by Defendants’

  11 antibiotic marketing statements because they would not have purchased the beef

  12 products from Whole Foods Market if they had known about the supposed antibiotic

  13 use. These allegations, however, do not demonstrate an injury in fact or economic

  14 loss resulting from Plaintiffs purchases.

  15         Plaintiffs do not allege that the beef products they purchased contained
  16 antibiotics nor that all beef products sold by Whole Foods Market stores contain

  17 antibiotics. Conceding this point, Plaintiffs’ Opposition charts a new course.

  18 Plaintiffs argue that their allegations are sufficient to establish their Article III and

  19 statutory standing (i.e., injury in fact and economic loss) because the allegation

  20 show that antibiotics are likely used in the beef supply chain. See ECF No. 48 at

  21 1:4-5, 6:2-5, 8:13-16, 9:24-27. This argument, however, lacks particularity and

  22 factual support. Plaintiffs allegations speak in general terms about the United States

  23 beef supply chain and GAP testing. There is nothing connecting Plaintiffs’ “supply

  24 chain” allegations to Whole Foods Market’s supply chain. Nowhere do Plaintiffs

  25 allege that FoodID or Consumer Reports tested meat products from the Whole

  26 Foods Market’s supply chain. See ECF No. 35, ¶¶62-65. Rather, their allegations

  27
      Defendants’ Reply Brief uses the same shorthand references defined in its moving
       1

  28 papers.
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   1 discuss testing of the “U.S. ‘raised without antibiotics’ market” and antibiotic

   2 resistant chicken. Id. These allegations do not establish a pattern or practice of

   3 antibiotic use in Whole Foods Market’s supply chain and fail to establish the

   4 Individual Plaintiffs’ standing. Similarly, the organizational plaintiff, Farm

   5 Forward, fails to show how Defendants’ alleged misrepresentations forced it to

   6 divert its resources. Because Plaintiffs lack standing, the case should be dismissed

   7 under Rule 12(b)(1).

   8        Additionally, Plaintiffs’ claims, which are all based in fraud and rely on the
   9 same unified course of fraudulent conduct, are not alleged with the particularity

  10 required by Rule 9(b). Plaintiffs fail to allege facts demonstrating why Defendants’

  11 representations are false, and how they were damaged. Notably, Plaintiffs fail to

  12 allege any details about what beef products they purchased or the alleged testing

  13 they undertook. Further, their allegations fail to tie the beef products Plaintiffs

  14 purchased to the antibiotic testing in any meaningful way. Without these essential

  15 facts, Plaintiffs’ claims fail to meet Rule 9(b)’s particularity requirements and

  16 should be dismissed. Finally, Plaintiffs’ claim for unjust enrichment is not a stand-

  17 alone claim under California law and should be dismissed.

  18                                   II.   ARGUMENT
  19 A.     The Individual Plaintiffs Failed to Allege a Particularized or Concrete
  20        Injury Sufficient to Establish their Article III Standing.
  21        The Individual Plaintiffs claim they have alleged an injury in fact sufficient to
  22 establish their standing because had they “known that cattle used in Whole Foods

  23 Beef Products were raised with antibiotics, [they] would not have purchased the

  24 Products or would not have paid what [they] did for them.” See ECF No. 35, ¶¶7,

  25 15, 22; see also ECF No. 48 at 7:21-8:2. As detailed in Defendants’ moving papers,

  26 this alleged “injury” requires facts plausibly demonstrating, or from which the Court

  27 may reasonably infer, that the beef products the Individual Plaintiffs purchased

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   1 contained antibiotics. See ECF No. 46 at 7:21-11:10. To establish this fact, the

   2 Individual Plaintiffs rely on a single incident where their testing allegedly detected

   3 antibiotics in a single, unidentified beef product sold by Whole Foods Market. See

   4 ECF No. 35, ¶¶59-60. Neither Plaintiffs’ FAC nor their Opposition, however, link

   5 the unspecified beef product to the Individual Plaintiffs’ purchases, e.g., by product

   6 name, product category, product brand, store or any other means. Thus, Plaintiffs’

   7 allegations do not establish they were injured by purchasing beef products from

   8 Whole Foods Market because there are no facts tending to show that antibiotics
   9 were used in raising the cattle the provided the beef products Plaintiffs purchased.

  10        Plaintiffs, however, claim they do not need to link their purchases to this
  11 single positive test result because their testing allegations demonstrate the presence

  12 of antibiotics in Whole Foods Market’s beef supply chain. See EFC No. 48 at 6:2-5,

  13 8:13-17. Not true. Plaintiff’s supply chain allegations rely on testing performed by

  14 FoodID and Consumer Reports. See, ECF No. 35, ¶62-64. None of these testing

  15 allegations are specific to Whole Foods Market or its beef supply chain. Id.

  16 FoodID tested beef samples from a single, unidentified slaughter facility. Id., ¶62.

  17 Plaintiff has not alleged any facts showing that the slaughter facility, or the feed

  18 yards or producers that supply that facility, are part of Whole Foods Market’s beef

  19 supply chain. Id. Consumer Reports, for its part, did not test for the presence of

  20 antibiotics or antibiotic residue in beef products or more importantly Whole Foods

  21 Market beef products. Id., ¶64. Consumer Reports tested beef, pork, chicken and

  22 turkey for bacteria, e.g., salmonella and E. Coli. Id. Thus, neither of these testing

  23 allegations plausibly establish the presence of antibiotic use in Whole Foods

  24 Market’s beef supply chain.

  25        Plaintiffs also heavily rely on a line of cases concerning labor practices in the
  26 supply chain of chocolate (the “Chocolate Labor Cases”) to show they have

  27 sufficiently alleged standing. Specifically, the Individual Plaintiffs contend that

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   1 their “injury is conferred by purchasing a Beef Product that is devalued by the

   2 practices in Defendants’ supply chain regardless of whether any piece of meat they

   3 purchased test positive for antibiotics.” ECF No. 48 at 8:14-15. Plaintiffs’ reliance

   4 on the Chocolate Labor Cases is misplaced.

   5         First, in the Chocolate Labor Cases, it was undisputed that some of the
   6 defendant chocolate suppliers’ products were made from cocoa harvested using

   7 child and slave labor. McCoy v. Nestle USA, Inc. 173 F. Supp. 3d 954, 957 (N.D.

   8 Cal. 2016), aff'd sub nom. McCoy v. Nestle USA, Inc. 730 Fed. Appx. 462 (9th Cir.
   9 2018) (“Nestlé acknowledges child and slave labor in its Ivorian supply chain . . .”);

  10 Hodsdon v. Mars, Inc. 162 F. Supp. 3d 1016, 1020 (N.D. Cal. 2016) (“Mars and

  11 many other chocolate manufacturers have acknowledged that their products may

  12 contain cocoa harvested by children.”), aff'd 891 F.3d 857 (9th Cir. 2018). In

  13 contrast, Plaintiffs have not alleged any fact to establish the use of antibiotics in

  14 Whole Foods Market’s beef supply chain.

  15         Second, in the Chocolate Labor Cases, the plaintiffs alleged that the defendant
  16 chocolate suppliers used cocoa sourced from the Ivory Coast “much” or “most of

  17 the time.” See McCoy, 173 F. Supp. 3d at 957 (“Nestlé sources much of its

  18 chocolate from Côte d'Ivoire . . .”). Here, Plaintiffs do not allege that all, most, or

  19 even a significant portion of the beef products sold by Whole Foods Market stores

  20 contain antibiotics or came from slaughter facilities or suppliers with known or

  21 demonstrated antibiotic use. Indeed, Plaintiffs can only cite to a single incident

  22 where their testing detected an undisclosed amount of monensin sodium residue in a

  23 single unspecified product. See ECF No. 35, ¶¶59-60.

  24         Third, in the Chocolate Labor Cases, the defendant suppliers acknowledged
  25 that there was no way to determine if a specific chocolate product purchased by the

  26 plaintiffs contained cocoa sourced from the Ivory Coast and harvested using child

  27 and slave labor. See McCoy, 173 F. Supp. 3d at 962 (“The parties agree that Nestlé

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   1 currently cannot trace the cocoa used in a particular Nestlé chocolate product to a

   2 specific plantation, and there is thus no way to know what labor practices were used

   3 in its production.”) Unlike the plaintiffs in the Chocolate Labor Cases, Plaintiffs

   4 here could test and determine if the beef products they purchased contain antibiotics.

   5 These distinctions make the conclusions of the Chocolate Labor Cases inapplicable

   6 to the facts of the present case. There are simply no facts of rampant use of

   7 antibiotics in Whole Foods Market’s beef supply chain.

   8        Because Plaintiffs do not allege that all or even most beef products sold by
   9 Whole Foods Market stores contain antibiotics, their claims are similar to the

  10 plaintiffs’ claims in Wallace v. ConAgra Foods, Inc., 747 F.3d 1025 (8th Cir. 2014),

  11 and Pels v. Keurig Dr. Pepper, Inc., No. 19-cv-03052-SI, 2019 WL 5813422, at *1

  12 (N.D. Cal. Nov. 7, 2019). In both cases, the court found that the plaintiffs’ injuries

  13 were too speculative for Article III standing. In Wallace, the plaintiff only alleged

  14 that some of defendant’s hot dogs were not kosher, while in Pels, the plaintiffs

  15 alleged that only some the products contained arsenic.

  16        Plaintiffs respond by arguing the Court should not be persuaded by the
  17 Wallace decision and should instead rely on Rice-Sherman v. Big Heart Pet Brands,

  18 Inc., No. 19-cv-03613-WHO, 2020 WL 1245130, at *6 (N.D. Cal. Mar. 16, 2020) to

  19 find their standing allegations sufficient. See ECF No. 48 at 9:1-13. In Rice-

  20 Sherman, the court found that plaintiffs had standing because “[a] fair reading of

  21 their FAC shows that they allege that all Nature’s Food Recipe products” contain

  22 corn and soy and are thus falsely advertised. Rice-Sherman, 2020 WL 1245130, at

  23 *7 (emphasis added). The court distinguished Wallace and Pels, reasoning that

  24 plaintiffs in those cases only alleged that some products were not kosher or some

  25 products contained arsenic. That distinction, however, is precisely what Plaintiffs

  26 have alleged in their FAC. Plaintiffs only allege that a single unspecified beef

  27 product sold by a Whole Foods Market store has tested positive for antibiotics. This

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   1 is not enough to establish wide spread and continuous use of antibiotics in Whole

   2 Foods Market’s beef products or its beef supply chain. Thus, Plaintiffs’ allegations

   3 do not establish a particularized and concrete injury resulting from their purchase of

   4 beef products from Whole Foods Market.

   5 B.     The Individual Plaintiffs Have Not Alleged an Economic Injury Caused
   6        by Defendants’ Alleged Advertising.
   7        In addition to the Article III standing requirements, Plaintiffs’ UCL, FAL and
   8 CLRA claims require they have “suffered injury in fact and . . . lost money or
   9 property as a result of the unfair competition.” Cal. Bus. & Prof. Code §§ 17204 &

  10 17535; Kwikset Corp. v. Sup. Ct., 51 Cal. 4th 310, 321-322 (2011); Durell v. Sharp

  11 Healthcare, 183 Cal. App. 4th 1350, 1367 (2010). Plaintiffs have not satisfied these

  12 statutory standing requirements for the same reasons articulated in Section II.A

  13 above. They have not alleged facts plausibly demonstrating that they purchased

  14 beef products that came from cattle raised with antibiotics, nor sufficient facts from

  15 which the Court might infer that the beef products in Whole Foods Market’s supply

  16 chain or all beef products sold at Whole Foods Market are raised using antibiotics.

  17 C.     Farm Forward Fails to Adequately Allege It Diverted Resources Versus
  18        Merely Going About Business as Usual.
  19        Plaintiff Farm Forward contends that it has adequately alleged economic
  20 injury, an element of standing under the UCL and FAL, under a “resource drain”

  21 theory.2 The parties agree that Farm Forward must establish two criteria under this

  22 theory: (1) that Defendants’ advertising frustrated its organizational mission; and (2)

  23 the advertising forced Farm Forward to divert resources to avoid real harm. ECF

  24 No. 48 at 13:9-12. Only the second element: diversion of resources is at issue here.

  25

  26  Whether this is even a sufficient theory to establish economic injury under the
       2

     UCL is currently an issue pending on review with the California Supreme Court in
  27
     California Medical Assn. v. Aetna Health of California, Inc., 63 Cal.App.5th 660,
  28 667 (2021), review granted & nonpub. den. (No. S269212).
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   1        Plaintiffs do not dispute that Farm Forward’s diversion of resources cannot
   2 simply constitute a continuation of its previous advocacy efforts to qualify as

   3 economic injury under the UCL and FAL. Plaintiffs also make no attempt to

   4 distinguish Friends of the Earth v. Sanderson Farms, Inc., 992 F.3d 939, 942 (9th

   5 Cir. 2021) nor In re Defense of Animals v. Sanderson Farms, Inc., No. 20-CV-

   6 05293-RS, 2021 WL 42443391 (N.D. Cal. Sept. 17 2021), analogous cases finding

   7 that advocacy group plaintiffs failed to show a diversion of resources under the UCL

   8 when the groups’ activities investigating the defendants were a continuation of their
   9 ongoing work related to protection of animal health. See Friends of the Earth, 992

  10 F.3d at 943-944; In re Defense of Animals, 2021 WL 42443391, at **5-6.

  11        Instead, Plaintiffs cite to cases that do not analyze standing under the UCL or
  12 the FAL, but rather, discuss the scope of the federal requirement that organizational

  13 plaintiffs suffer an “injury-in-fact” to establish standing under Article III. For

  14 instance, Plaintiffs rely on Sabra v. Maricopa County Community College District,

  15 44 F.4th 867 (9th Cir. 2022), an Arizona case that analyzes whether an

  16 organizational plaintiff has Article III standing in a 42 U.S.C. section 1983 claim

  17 alleging that a community college district violated the Establishment and Free

  18 Exercise Clauses of the U.S. Constitution. Sabra, 44 F.4th at 877. Sabra does not

  19 involve a UCL or FAL claim. It also does not analyze whether the plaintiff’s

  20 purported diversion of resources was a continuation of its normal business, i.e., the

  21 issue presented here. Judge Vandyke’s concurrence in Sabra did analyze this issue

  22 in the context of Article III standing and found:

  23               The only resources CAIR-AZ diverted are those to
  24               further its stated purpose of protecting the civil rights of
                   American Muslims…An activity that falls exactly in line
  25               with an organization’s stated purpose seriously
  26               undermines any sense of injury, and therefore runs afoul
                   of the Supreme Court’s threshold requirement that an
  27               injury be ‘concrete and particularized and ‘actual or
  28               imminent.’
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   1 Id. at 896.

   2         Plaintiffs also rely on Fair Housing Council v. Roomate.com LLC, 66 F.3d
   3 1216, 1219 (9th Cir. 2012), which addressed an organization’s standing under

   4 Article III to seek relief under the California Fair Employment and Housing Act.

   5 Again, this case does not involve a UCL or FAL claim. Notably, Judge Ikuta in his

   6 concurrence and dissent finds that the plaintiff did not establish standing under

   7 Article III because the alleged “diversion” was merely a voluntary redirection of

   8 more resources to areas where the plaintiff could make a bigger impact advancing
   9 its mission. Fair Housing Council, 66 F.3d at 1226-1227. According to Judge

  10 Ikuta, “[t]his represented adaptive and savvy organizational management, not

  11 injury.” Id. at 1227.

  12         In relying on these authorities, Plaintiffs incorrectly assume that Article III
  13 standing is identical to standing under the UCL. To the contrary, as the California

  14 Supreme Court recognized in Kwikset, Proposition 64 made UCL and FAL standing

  15 requirements far more stringent than the federal standing requirements. “The

  16 Proposition 64 requirement that an injury be economic renders standing under

  17 section 17204 substantially narrower than federal standing under Article III, section

  18 2 of the United States Constitution, which may be predicated on a broader range of

  19 injuries.’” Kwikset, 51 Cal.4th at p. 324; accord, McKenzie v. Fed. Exp. Corp., 765

  20 F. Supp. 2d 1222, 1236 (C.D. Cal. 2011) (“While McKenzie’s intangible injuries are

  21 sufficient for Article III standing, they fail to satisfy the more stringent standing

  22 requirement under Proposition 64”). None of Plaintiffs’ authorities are helpful in

  23 analyzing the issue presented here because they do not consider the stringent

  24 requirements of UCL standing after the Proposition 64 amendment became effective

  25 in 2004.

  26         Under the UCL and FAL, any alleged use of resources does not suffice to
  27 establish standing under a “resource drain” theory of economic injury. Instead,

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   1 Farm Forward’s alleged diversion of resources must be away from its core mission

   2 to constitute harm. See Friends of the Earth, 992 F.3d at pp. 943-944. This more

   3 stringent standard for standing under the UCL is more in-line with the analysis in

   4 Judge Vandyke’s concurrence in Sabra and Judge Ikutu’s concurrence and dissent

   5 in Fair Housing Council than the majority opinion in those cases.

   6        Here, although the FAC alleges that its campaign to expose Defendants and
   7 other companies use of antibiotics “significantly departed” from its core mission

   8 (FAC ¶23), Farm Forward’s articles, cited to and incorporated into the FAC, show
   9 the opposite. 3 As those articles reveal, Farm Forward believes that evidence of

  10 antibiotics in meat shows that such meat comes from factory farms. Thus, Farm

  11 Forward’s use of resources on its campaign “to expose” Defendants did not cause

  12 Farm Forward harm, but rather was exactly in-line with Farm Forward’s stated

  13 purpose of ending factory farming. Plaintiffs’ contention that Farm Forward

  14 suffered harm because “it was previously promoting Defendants’ products”

  15 confuses the relevant issue. See ECF No. 48 at 17:7-11. While that contention may

  16 show reliance (a different element of standing) or frustration of mission, the harm

  17 relevant to the second criteria (i.e., diversion of resources) under a “resource drain”

  18 theory is the harm purportedly suffered by a plaintiff in diverting resources.

  19        Plaintiffs dispute the import of these articles, claiming they show that Farm
  20 Forward allocated its resources differently by diverting resources from helping

  21 Defendants to “improve the lives of the animals in its supply chain,” to investigating

  22 and initiating a campaign to rebut Defendants’ alleged misrepresentations about

  23 antibiotic use. See ECF No. 48 at 17:12-22; See also ECF No. 49 at 5:7-10.

  24 Plaintiffs’ argument lacks merit. This is not a re-allocation of resources that resulted

  25

  26  Although Plaintiffs opposed Defendants’ request for judicial notice of the two
       3

     Farm Forward articles cited and incorporated into the FAC, Plaintiffs “do not
  27 oppose this Court taking judicial notice of the existence of Farm Forward’s articles.”

  28 See ECF No. 49 at 5:3-4.
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   1 in an economic harm to Farm Forward, as required for standing under the UCL.

   2 Farm Forward would have stopped working with Defendants irrespective of whether

   3 it used resources in its campaign against Defendants because it believed Defendants

   4 sold factory farmed meat. Farm Forward did not suffer any harm by ceasing its

   5 work with Defendants. Indeed, if as alleged in the FAC, Farm Forward believed

   6 Defendants sold factory farmed meat, then stopping that collaboration could only

   7 have benefited it. It is clear from these articles that Farm Forward did not suffer any

   8 economic harm by dedicating resources to a campaign to investigate and expose the
   9 alleged use of antibiotics in meat sold by Defendants because such efforts were a

  10 continuation of its ongoing work to end factory farming. The FAC therefore fails to

  11 adequately allege that Farm Forward has standing under the UCL and FAL.

  12 D.     Plaintiffs’ Fraud Claims Fail for Lack of Particularity.
  13        Under Rule 9(b) a plaintiff alleging fraud must “state with particularity the
  14 circumstances constituting fraud.” Fed. R. Civ. P. 9(b). This heightened standard

  15 requires a pleader state the time, place and specific content of the false

  16 representations. See Odom v. Microsoft Corp., 486 F.3d 541, 553 (9th Cir. 2007).

  17 The allegations “must set forth more than neutral facts necessary to identify the

  18 transaction. The plaintiff must set forth what is false or misleading about the

  19 statement, and why it is false.” Vess v. Ciba-Geigy Corp USA, 317 F.3d 1097, 1106

  20 (9th Cir. 2003) (emphasis added.).

  21        In their moving papers, Defendants show that Plaintiffs failed to allege the
  22 facts necessary to identify the transaction and why Defendants’ statements are

  23 supposedly false. In particular, Plaintiffs failed to state with any particularity the

  24 facts to support their conclusory allegation that Whole Foods Market’s beef

  25 products were raised with antibiotics or its supply chain tainted by antibiotic use.

  26 Plaintiffs do not provide any details concerning their alleged testing, including

  27 which beef products were tested and in which beef product Plaintiffs purportedly

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   1 detected antibiotics. Plaintiffs do not address this fatal omission in their Opposition.

   2 Nor do Plaintiff allege how they relied upon Whole Foods Market’s statements—

   3 that is, what products did Plaintiffs purchase in reliance on Whole Foods Market’s

   4 statements? Plaintiffs failed to address these essential questions. These details are

   5 necessary for Defendants to defend themselves and are required by Rule 9(b).

   6 E.     Plaintiffs’ Express Warranty and Unjust Enrichment Claims Fail.
   7        Plaintiffs also failed to adequately plead claims for breach of express
   8 warranty and unjust enrichment. As an initial matter, because Plaintiffs allege a
   9 “unified course of fraudulent conduct and rely entirely on that course of conduct as

  10 the basis of” all of their claims, these claims are subject to—and fail to meet—the

  11 same heightened pleading requirements described in Section II.D above, and should

  12 be dismissed for that reason alone. See Vess v. Ciba-Geigy Corp. USA, supra, 317

  13 F.3d at 1103-04; see also In re Arris Cable Modem Consumer Litig., No. 17-cv-

  14 01834-LHK, 2018 WL 288085, at *10 (N.D. Cal. Jan. 4, 2018). Regardless, these

  15 claims fail at the pleading stage for independent reasons.

  16        1.     Plaintiffs’ Express Warranty Claims Fail.
  17        The Court should dismiss Plaintiffs’ express warranty claim because the
  18 Individual Plaintiffs do not allege sufficient facts demonstrating they purchased beef

  19 products raised using antibiotics. As detailed in Sections II.A and II.D above, the

  20 Individual Plaintiffs do not allege facts demonstrating they purchased the same beef

  21 product, or even the same category of beef product (e.g., ground beef, butcher cut

  22 beef products, meatballs, hot dogs, etc.), that allegedly tested positive for antibiotic

  23 residue. See ECF No. 35, ¶¶12-22. Thus, they have not alleged the facts necessary

  24 to stating a breach of the asserted warranty.

  25        2.     Plaintiffs’ Unjust Enrichment Claims Fail.
  26        Plaintiffs’ claim for unjust enrichment should be dismissed because there is
  27 no stand-alone claim under California law. See McBride v. Boughten, 123 Cal. App.

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   1 4th 379, 387 (2004), quoting Melchior v. New Line Products, Inc., 106 Cal. App. 4th

   2 779, 793 (2003) (stating unjust enrichment is a “general principle underlying various

   3 legal doctrines and remedies;” it is not an independent cause of action); Krause-

   4 Pettai v. Unilever United States, Inc., No. 20-cv-1672-DMS, 2021 WL 1597931, at

   5 *7 (S.D. Cal., Apr. 23, 2021); Barrett v. Optimum Nutrition, No. CV21-4398-DMG

   6 (SKX), 2022 WL 2035959 (C.D. Cal. Jan. 12, 2022). Further, because Plaintiffs’

   7 unjust enrichment claim is predicated on the same facts and allegations as their other

   8 claims, which fail for the reasons detailed above, the Court should not construe the
   9 claim as a quasi-contract claim. Choi v. Kimberly-Clark Worldwide, Inc., No. 19-

  10 cv-0468-DOC, 2019 WL 4894120, *13 (C.D. Cal. Aug. 28, 2019) (“there must be

  11 an underlying claim that a defendant has been unjustly conferred a benefit through

  12 mistake, fraud, coercion, or request.”).

  13                                 III.   CONCLUSION
  14        At the initial scheduling conference, this Court ordered the parties to meet and
  15 confer over Defendants’ pleading challenges in order to resolve as much as possible

  16 by voluntary amendment before proceeding, if necessary, with this motion. The

  17 parties met and conferred and exchange several communications on these issues.

  18 Plaintiffs, however, chose to stand on their current allegations. The clear

  19 implication being that they do not have any further facts to offer that might resolve

  20 these issues. Because Plaintiffs have already had multiple opportunities to amend

  21 and have not meaningfully addressed the defects identified in Defendants’ two

  22 motions to dismiss, the Court should dismiss Plaintiffs’ FAC with prejudice.

  23   Dated: February 23, 2023
                                            BLAXTER | BLACKMAN LLP
  24

  25                                  By:                /s/ Brian R. Blackman
                                                       BRIAN R. BLACKMAN
  26                                                   Attorneys For Defendants
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